Case 1:21-mj-05105-MJR Document1 Filed 05/18/21 Page 1 of 13

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AO 91 (Rev. 11/11) Criminal Complaint g | -~ Ww ~ S| OS

UNITED STATES DISTRICT COURT.< <sihteS
for the KS —

District of Columbia ( ( MAY 18 2021 ) }

  

    
 

  

United States of America
Vv.

 

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Case: 1:21-mj- ott
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) CT OL
) Assigned to: Judge Harvey, RW Rig TRICE
Assign Date: 5/17/2021

)

)

Daniel Warmus

PE ee Description: COMPLAINT W/ ARREST WARRANT

 

Defendant(s)

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of January 6, 2021 in the county of in the
in the District of Columbia __, the defendant(s) violated:

Code Section Offense Description

18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds
Without Lawful Authority,
18 U.S.C. § 1752(a)(2) - Knowingly and with Intent to Impede or Disrupt the Orderly Conduct of

Government Business or Official Functions,
40 U.S.C. § 5104(e)(2)(D) - Violent Entry and Disorderly Conduct on Capitol Grounds,
40 U.S.C. § 5104(e)(2)(G) - Violent Entry and Disorderly Conduct on Capitol Grounds.

This criminal complaint is based on these facts:

See attached statement of facts.

IM Continued on the attached sheet.
Pais )

 

Complainant's signature

Daniel Edwards, Special Agent
Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1

by telephone.
— Hel y Digitally signed by
bs ee a G. Michael Harvey

Date: 17/20

 

Judge's signature

City and state: Washingion, D.C. G. Michael Harvey, U.S. Magistrate Judge
Printed name and title
Case 1:21-mj-05105-MJR Document1 Filed 05/18/21 Page 2 of 13
Case: 1:21-mj-00432
Assigned to: Judge Harvey, G. Michael
Assign Date: 5/17/2021
Description: COMPLAINT W/ ARREST WARRANT

STATEMENT OF FACTS

Your affiant, Daniel Edwards, is a Special Agent with Federal Bureau of Investigation
(FBI) assigned to the Joint Terrorism Task Force in the Buffalo Field Office. Currently, I am a
tasked with investigating criminal activity in and around the U.S. Capitol grounds on January 6,
2021. As a Special Agent, I am authorized by law or by a Government agency to engage in or
supervise the prevention, detention, investigation, or prosecution of a violation of Federal criminal
laws.

The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

On January 12, 2021, the FBI received a tip advising Daniel WARMUS (WARMUS)
breached the U.S. Capitol building on January 6, 2021, and smoked a marijuana cigarette while
inside the building. The tipster indicated that he/she overheard WARMUS talking about his
experience while at a dentist’s office. Specifically, the tipster reported that a police officer told
WARMUS to leave the building, but WARMUS refused to leave. WARMUS also played a video
he had taken inside the Capitol Building at the dentist’s office. The tipster heard the video playing
but did not see it. The tipster, who wishes to remain anonymous, identified WARMUS’ telephone
number as 716-3XX-3110 and home address as 116XX Genesee Street, Apartment 4, Alden, New
York 14004. Your affiant has tried to ask additional questions of the tipster, but he/she has not
responded. Agents therefore do not know what relationship the tipster has with WARMUS. Based
on this information, your affiant began investigating WARMUS.

Your affiant located a Department of Motor Vehicles (DMV) and passport photograph of
WARMUS. DMV records indicated that WARMUS has multiple vehicles currently registered in
his name and those vehicles are registered at two addresses, 10XX Town Line Road, Lancaster,
New York 14086, and 116XX Genesee Street, Alden, New York 14004, the same house number
and street name identified by the tipster (without the apartment specified).

Your affiant reviewed video footage voluntarily provided to the FBI by an amateur film
crew and recorded on January 6, 2021 (hereinafter VIDEO 1). Your affiant compared WARMUS’
DMV and passport photographs to a man resembling WARMUS in VIDEO 1 near the Washington
Monument and found them to be the same person. In VIDEO 1, WARMUS stated he ran an auto
shop in Orchard Park, New York. A search of public records identified Daniel Warmus of 10XX
Town Line Road, Lancaster, New York 14086 as the registered agent for Worm-a-Fix Automotive,
Inc., located at 422XX Abbott Road, Orchard Park, New York.

Agents have confirmed that Worm-a-Fix Automotive, Inc., continues to operate and
conduct business. Agents have observed a blue 2017 Chevrolet Silverado pick-up truck with New
York plate GCM6691, which is registered to WARMUS, parked during business hours at Worm-
a-Fix Automotive, Inc. on multiple occasions between February 2021 and May 2021.

Your affiant took screenshots from VIDEO | to provide a description of WARMUS on
January 6, 2021. Those screenshots are provided below in Figure 1. In VIDEO 1, WARMUS wore
a dark-colored sweatshirt with the phrase, “CNN is fake news” and what appears to be a small pin
affixed to the sweatshirt with unidentified writing, a dark-colored hat bearing “Trump 2020” on
the front, green-colored cargo pants with brown or orange and dark-colored shoes, and carrying a
backpack. WARMUS had a dark-colored mask hanging on his chin below the mouth. Letters were
printed on the mask but could not be identified from the video. WARMUS had dark-colored facial

hair and was holding a tree branch with a large, dark-colored flag affixed bearing the phrase,
“FUCK ANTIFA” in white letters.
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Figure 1. Screenshots Taken from VIDEO 1

 

Your affiant reviewed United States Capitol Police security footage taken inside the U.S.
Capitol on January 6, 2021. Several security cameras observed an individual (SUBJECT 1)
matching WARMUS’ description from VIDEO |. SUBJECT 1| was observed entering the capitol
at approximately 2:17 PM EST through the Senate Wing Doors as shown in Figure 2. Your affiant
has circled SUBJECT 1 in red below.
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SUBJECT 1 proceeded toward the First-floor Crypt of the U.S. Capitol and was observed
ascending a stairwell to the second floor at approximately 2:23 PM EST as shown in Figure 3.
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Figure 3. Ascending Staircase

 

Shortly after, SUBJECT 1 was observed entering the U.S. Capitol Rotunda located on the
Second floor at approximately 2:24 PM EST. While inside the Rotunda, SUBJECT 1 was observed
walking around and grabbing a dark-colored object off the floor and placing it on a statue as shown
in Figure 4. The object is unknown and was on the floor prior to protesters entering the Rotunda.
Your affiant has circled SUBJECT 1 in red below.

Figure 4. Rotunda

 
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SUBJECT | was also observed using a cellular device to film and/or capture photos. At
one point, SUBJECT | appears to film protesters attempting to breach Capitol doors through the
Rotunda lobby on the east side of the Capitol as shown in Figure 5. An officer who was pulled
inside the Capitol through the Rotunda lobby doors, turned, and approached individuals inside the
Rotunda and grabbed SUBJECT 1 by the backpack as shown in Figure 6. SUBJECT 1 pulled away
and retreated from the officer. The officer then returned to the Rotunda lobby doors, which were
fully breached soon after. No audio is provided in the video. Your affiant has circled SUBJECT
1 in red below.

Figure 5. Rotunda Lobby

 
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Figure 6. Officer grabbing SUBJECT 1

 

SUBJECT 1 was observed leaving the U.S. Capitol through the Senate Wing Windows at

approximately 2:33 PM EST as shown in Figure 7. Your affiant has circled SUBJECT 1 in red
below.
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Figure 7. SUBJECT 1 Exits Capitol

  

Although SUBJECT 1 was not observed carrying a tree branch with the dark-colored flag
bearing the phrase, “FUCK ANTIFA” in white letters or smoking marijuana while inside the
Capitol, and wore gloves, your affiant believes that SUBJECT | is WARMUS for the following
reasons. SUBJECT | wore a dark-colored sweatshirt with the phrase, “CNN is fake news” and
what appears to be a small pin affixed to the sweatshirt. He wore a dark-colored hat with matching
text and design from VIDEO 1. SUBJECT 1 wore green-colored cargo pants with dark-colored
shoes, wore a backpack, and had a dark-colored mask. SUBJECT 1 briefly removed his face mask
upon entering the Capitol and was observed with a beard matching that of WARMUS in VIDEO
1. Your affiant also has compared WARMUS’ driver’s license and passport photographs, the
screenshots discussed above of WARMUS in VIDEO 1, and the images discussed above of
SUBJECT | captured inside the U.S. Capitol and all are consistent and the same individual.

Additionally, your affiant reviewed records from Verizon to obtain subscriber information
for telephone number 716-3XX-3110, the telephone number identified by the tipster belonging to
WARMUS. Verizon identified Daniel Warmus as the subscriber for cellular telephone number
716-3XX-3110 since July 20, 2019, with an address of 10XX Town Line Road, Lancaster, New
York 14086 and a device IMEI number 354641101628892. Verizon identified the device and
device type as a Samsung Galaxy S10 Plus.

According to records obtained through a search warrant which was served on Verizon, on
January 6, 2021, in and around the time of the incident, the cellphone associated with 716-3XX-
3110 was identified as having utilized a cell site consistent with providing service to a geographic
area that included the interior of the United States Capitol Building. Verizon records identified the
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device and device type as a Samsung Galaxy S10 Plus and the device IMEI number
35464110162889.!

Based on the foregoing, your affiant submits that there is probable cause to believe that
WARMUS violated 18 U.S.C. §§ 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions or attempts or conspires to do so.
For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily visiting; or any

building or grounds so restricted in conjunction with an event designated as a special event of
national significance.

Your affiant submits there is also probable cause to believe that WARMUS violated 40
U.S.C. 3§ 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter
loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place
in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.

Date: May 17, 2021

DAL SASS
Daniél B. Edwards - Special Agent
Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by

telephone, this 17th day of May, 2021. Digitally signed by G.
As Michael Harvey
G Date: 2021.05.17
14:40:59 -04'00'

G. MICHAEL HARVEY
U.S. MAGISTRATE JUDGE

 

 

 

* Your affiant observes that Verizon provided both a 14-digit and 15- digit device number for WARMUS’ cellular
telephone. The two device numbers are the exact same except for the number 2 at the end of the 15- digit identification

number. Based on my training and experience, your affiant believes this is the same device, because the 14 digits are
a variation of 15-digit device identification number.
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

Vv.

DANIEL WARMUS

ORDER

Case: 1:21-mj-00432

Assigned to: Judge Harvey, G. Michael

Assign Date: 5/17/2021

Description: COMPLAINT W/ ARREST WARRANT

VIOLATIONS:

18 U.S.C. §§ 1752(a)(1), and (2)
(Knowingly Entering or Remaining in any
Restricted Building or Grounds Without
Lawful Authority and with Intent to
Impede or

Disrupt the Orderly Conduct of
Government Business or Official
Functions)

40 U.S.C. §§ 5104(e)(2)(D) and
5104(e)(2)(G)

(Violent Entry and Disorderly Conduct on
Capito] Grounds)

This matter having come before the Court pursuant to the application of the United States

to seal criminal complaint and other related materials, the Court finds that, because of such

reasonable grounds to believe the disclosure will result in flight from prosecution, destruction of

or tampering with evidence, intimidation of potential witnesses, and serious jeopardy to the

investigation, the United States has established that a compelling governmental interest exists to

justify the requested sealing.

1. IT IS THEREFORE ORDERED that the application is hereby GRANTED, and that

the affidavit in support of criminal complaint and other related materials, the instant application to

seal, and this Order are sealed until the arrest warrant is executed.
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2. IT IS FURTHER ORDERED that the Clerk’s office shall delay any entry on the

Digitally signed by G.

public docket of the arrest warrant until it is executed.
Michael Harvey
Date: 2021.05.17 14:40:14

Date: May 17, 2021 C A fe
~04'00'

G. MICHAEL HARVEY
UNITED STATES MAGISTRATE JUDGE

 

 
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AO 442 (Rev. 11/11) Arrest Warrant

 

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America

 

 

Vv. )
Daniel Warmus Case No.
)
)
)
Defendant
ARREST WARRANT
To: — Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) Daniel Warmus
who is accused of an offense or violation based on the following document filed with the court:

 

[1 Indictment C Superseding Indictment (1 Information © Superseding Information BM Complaint

[ Probation Violation Petition [ Supervised Release Violation Petition Violation Notice [ Order of the Court
This offense is briefly described as follows:

18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful
Authority;

18 U.S.C. § 1752(a)(2) - Knowingly and with Intent to Impede or Disrupt the Orderly Conduct of Government Business or
Official Functions;

40 U.S.C. § 5104(e)(2)(D) - Violent Entry and Disorderly Conduct on Capitol Grounds;

os Digitally signed by G.
40 U.S.C. § 5104(e)(2)(G) - Violent Entry and Disorderly Conduct on Capitol Grounds. Hl /, igttally signed by
7 AGRE

Michael Harvey
Date: 2021.05.17

 

 

 

 

 

 

Date: 05/17/2021 14:38:03 -04'00'
Issuing officer's signature
City and state: Washington, D.C. G. Michael Harvey, U.S. Magistrate Judge
Printed name and title
Return
This warrant was received on (date) , and the person was arrested on (date)

at (city and state)

 

Date:

 

Arresting officer’s signature
IS

 

Printed name and title

 

 
